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Charles L. Hinegardner (0064944)

Attorney for Defendant
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
COBASYS, LLC, et. al. : CASE NO. 1:06 CV 194
JUDGE WATSON

Plaintiffs,

VS. : ANSWER OF DEFENDANT, FMP
: RESISTANCE WELDING SUPPLY,

FMP RESISTANCE WELDING : INC., TO PLAINTIFFS’ FIRST
SUPPLY, INC. : AMENDED COMPLAINT

Defendant.

 

Now comes Defendant, FMP Resistance Welding Supply, Inc. (“FMP”), by and through

its counsel, and for its Answer to the First Amended Complaint of Plaintiffs states as follows:

FIRST DEFENSE
1. Plaintiffs’ First Amended Complaint fails to state a claim against this Defendant
upon which relief can be granted.
SECOND DEFENSE
2. Defendant FMP denies for want of knowledge the allegations contained in

paragraphs 2, 3, 4, 6, 7, 8, 12, 14, 15, 18, 19, 20, 21, 43, 44, and 49 of Plaintiffs’ First Amended
Complaint.

3. Defendant FMP admits the allegations contained in paragraphs 5, 16, 22, 23, 24,
25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 48, 50, 53, 54, 57, 60, 63, 64, 67, 70, and
73 of Plaintiffs’ First Amended Complaint.

4. Defendant FMP denies the allegations contained in paragraphs 1, 10, 40, 41, 42,

45, 46, 51, 55, 58, 61, 65, 68, 71, and 74 of Plaintiffs’ First Amended Complaint.
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5. Defendant FMP admits and denies the allegations incorporated by reference in
paragraphs 52, 56, 59, 62, 66, 69, and 72 of Plaintiffs’ First Amended Complaint.

6. Defendant FMP denies the allegations contained in Plaintiffs’ First Amended
Complaint not expressly admitted herein.

7. Defendant FMP denies that the United States District Court for the Eastern
District of Michigan, Southern Division, has jurisdiction over this matter as alleged in paragraph
9 of Plaintiffs’ First Amended Complaint. Defendant admits that United States District Court for
the Southern District of Ohio has proper jurisdiction.

8. Defendant FMP denies that the United States District Court for the Eastern
District of Michigan, Southern Division, is the proper venue for this matter as alleged in
paragraph 11 of Plaintiffs’ First Amended Complaint. Defendant admits that United States
District Court for the Southern District of Ohio is the proper venue. Defendant denies that it is
subject to personal jurisdiction in Michigan as alleged in paragraph 11 of Plaintiffs’ First
Amended Complaint.

9. Defendant, FMP Resistance Welding Supply, Inc., admits that on June 18, 2002,
Cobasys and FMP entered into a Confidentiality Agreement as alleged in paragraph 13 of
Plaintiffs’ First Amended Complaint. Defendant denies for want of knowledge the remaining
allegations contained in paragraph 13 of Plaintiffs’ First Amended Complaint.

10. Defendant, FMP Resistance Welding Supply, Inc., admits that on September 26,
2002, IMC and FMP entered into a Confidentiality Agreement as alleged in paragraph 17 of
Plaintiffs’ First Amended Complaint. Defendant denies for want of knowledge the remaining

allegations contained in paragraph 17 of Plaintiffs’ First Amended Complaint.
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11. Defendant, FMP Resistance Welding Supply, Inc., admits that IMC requested that
FMP bid as alleged in paragraph 20 of Plaintiffs’ First Amended Complaint. Defendant denies
for want of knowledge the remaining allegations contained in paragraph 20 of Plaintiffs’ First
Amended Complaint.

12. Defendant, FMP Resistance Welding Supply, Inc., denies that the United States
District Court, Eastern District of Michigan, Southern Division, has jurisdiction in this matter.
Defendant admits that United States District Court, Southern District of Ohio, has jurisdiction
over this matter.

THIRD DEFENSE

13. Plaintiffs’ claims are barred by the applicable statute of limitations.

WHEREFORE, having fully answered Plaintiffs’ First Amended Complaint, Defendant,
FMP Resistance Welding Supply, Inc., respectfully requests that the Complaint against it be

dismissed, that Plaintiffs take nothing and that this Defendant be awarded its costs and fees

incurred in defending this matter.

JURY DEMAND

Defendant hereby demands a jury on all issues so triable.

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Charles L. Hi van

 
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Respectfully Submitted,

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CERTIFICATE OF SERVICE

A copy of the foregoing Counterclaim was filed electronically and served this [xf day

of April, 2006 by ordinary mail on:

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